Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 1 of 39 Page ID #:9




                                Exhibit A
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 2 of 39 Page ID #:10




                                                                            8
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 3 of 39 Page ID #:11




                                                                            9
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 4 of 39 Page ID #:12




                                                                           10
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 5 of 39 Page ID #:13




                                                                           11
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 6 of 39 Page ID #:14




                                                                           12
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 7 of 39 Page ID #:15




                                                                           13
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 8 of 39 Page ID #:16




                                                                           14
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 9 of 39 Page ID #:17




                                                                           15
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 10 of 39 Page ID #:18




                                                                           16
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 11 of 39 Page ID #:19




                                                                           17
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 12 of 39 Page ID #:20




                                                                           18
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 13 of 39 Page ID #:21




                                                                           19
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 14 of 39 Page ID #:22




                                                                           20
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 15 of 39 Page ID #:23




                                                                           21
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 16 of 39 Page ID #:24




                                                                           22
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 17 of 39 Page ID #:25




                                                                           23
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 18 of 39 Page ID #:26




                                                                           24
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 19 of 39 Page ID #:27




                                                                           25
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 20 of 39 Page ID #:28




                                                                           26
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 21 of 39 Page ID #:29




                                                                           27
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 22 of 39 Page ID #:30




                                                                           28
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 23 of 39 Page ID #:31




                                                                           29
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 24 of 39 Page ID #:32




                                                                           30
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 25 of 39 Page ID #:33




                                                                           31
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 26 of 39 Page ID #:34




                                                                           32
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 27 of 39 Page ID #:35




                                                                           33
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 28 of 39 Page ID #:36




                                                                           34
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 29 of 39 Page ID #:37




                                                                           35
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 30 of 39 Page ID #:38




                                                                           36
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 31 of 39 Page ID #:39




                                                                          37
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 32 of 39 Page ID #:40




                                                                           38
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 33 of 39 Page ID #:41




                                                                           39
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 34 of 39 Page ID #:42




                                                                           40
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 35 of 39 Page ID #:43




                                                                           41
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 36 of 39 Page ID #:44




                                                                           42
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 37 of 39 Page ID #:45




                                                                           43
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 38 of 39 Page ID #:46




                                                                           44
Case 5:20-cv-01369-JGB-KK Document 1-1 Filed 07/09/20 Page 39 of 39 Page ID #:47




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